    Case 4:17-cr-00060-LGW-CLR Document 231 Filed 01/30/18 Page 1 of 1




                       IN THE ITNITED STATES DISTRICT COURT

                   FOR THE SOUTHERNDISTRICT OF GEORGIA
                                                                              u. $. DleT$teTcof :qT
                                     SAVANNAH DIVISION                       Southsrn fiie"itil:t 0f Os,
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THE UNITED      STATES OF AIVIERICA,                        )
                                                            )
                   Plaintiff,                               )
                                                            )
                                                            I4    :17CR60-07
                                                            )
ANDERSONHOI,MES, III,                                       )
                                                            )
                                                            )




                                            ORDER




      counsel     in    tshe above-captioned               case    have   advised      the   court

EhaL all- pretrial-          motions      have been complied          wiEh and/or       that    all-

matters   raised        in    the     parties'       motions       have   been      resol-ved    by

agreement.   Therefore,         a hearing        in this        case is deemed unnecessary.




      SO ORDERED,this               4lf     day of    ,January,      2018




                                             I]NITED STATES MAGISTRATE .II'DGE
                                             SOUTHERNDISTRICT OF GEORGIA
